  Case 17-37600        Doc 38 Filed 07/22/19 Entered 07/22/19 12:19:42             Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                     )               BK No.:     17-37600
ELIZABETH VENTURINI                        )
                                           )               Chapter: 13
                                           )
                                                           Honorable Jacqueline P Cox
                                           )
                                           )
              Debtor(s)                    )

             ORDER DISMISSING FOR FAILURE TO MAKE PLAN PAYMENTS

       This matter coming before the court on Trustee's Motion to Dismiss, due notice having been
given and the court having heard the facts presented;


IT IS THEREFORE ORDERED that this case is dismissed on the Trustee's motion for material default
by the debtor with respect to a term of a confirmed plan, pursuant to § 1307 (c) (6).




                                                        Enter:


                                                                 Honorable Janet S. Baer
Dated: July 22, 2019                                             United States Bankruptcy Judge

 Prepared by:
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 Chapter 13 Trustee
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